                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MPR:RCH/EMR                                       271 Cadman Plaza East
F.# 2019R00927                                    Brooklyn, New York 11201



                                                  February 20, 2020


By Hand and ECF

Cesar DeCastro
7 World Trade Center
34th Floor
New York, NY 10007
646-200-6166
Email: cdecastro@cdecastrolaw.com

                Re:    United States v. Genaro Garcia Luna
                       Criminal Docket No. 19-576 (BMC)

Dear Counsel:

               Enclosed please find the government’s discovery in accordance with Rule 16
of the Federal Rules of Criminal Procedure. Please note the enclosed discovery contains
Protected Material and should be handled consistently with the Protective Order entered by
the Court on February 18, 2020. See Dkt. No. 19. The government also requests reciprocal
discovery from the defendant.

I.     The Government’s Discovery

       A.       Enclosures

                Enclosed please find:

                 Statements of the defendant, Bates-numbered 000000001-000000264;
                 Immigration records, Bates-numbered 000000265-000000289;
                 Property and school records, Bates-numbered 000000290-000001548;
                 Financial records, Bates-numbered 000001549-0000022654 ;
                 Videos, photographs and documents related to drug, weapons and money
                  seizures, Bates-numbered 0000022655-0000032701;
                 Intercepted and recorded communications, Bates-numbered 0000032702-
                  0000032704; and
               Information downloaded from the defendant’s electronic devices, Bates-
                numbered 0000032705.

       B.     Expert Witnesses

                The government will comply with Fed. R. Crim. P. 16(a)(1)(G) and Fed. R.
Evid. 702, 703 and 705 and notify you in a timely fashion of any expert that the government
intends to call at trial and provide you with a summary of the expert’s opinion.

              The identity, qualifications, and bases for the conclusions of each expert will
be provided to you when they become available.

       C.     Brady Material

             The government is not aware of any exculpatory material regarding the
defendant. The government understands and will comply with its continuing obligation to
produce exculpatory material as defined by Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny.

               Before trial, the government will furnish materials discoverable pursuant to
Title 18, United States Code, Section 3500, as well as impeachment materials. See Giglio v.
United States, 405 U.S. 150 (1972).

       D.     Other Crimes, Wrongs or Acts

                  The government will provide the defendant with reasonable notice in advance
of trial if it intends to offer any material under Fed. R. Evid. 404(b).

II.    The Defendant’s Required Disclosures

                The government hereby requests reciprocal discovery under Rule 16(b) of the
Federal Rules of Criminal Procedure. The government requests that the defendant allow
inspection and copying of (1) any books, papers, documents, data, photographs, tapes,
tangible objects, or copies or portions thereof, that are in the defendant’s possession, custody
or control, and that the defendant intends to introduce as evidence or otherwise rely on at
trial, and (2) any results or reports of physical or mental examinations and of scientific tests
or experiments made in connection with this case, or copies thereof, that are in the
defendant’s possession, custody or control, and that the defendant intends to introduce as
evidence or otherwise rely upon at trial, or that were prepared by a witness whom the
defendant intends to call at trial.

              The government also requests that the defendant disclose prior statements of
witnesses who will be called by the defendant to testify. See Fed. R. Crim. P. 26.2. In order
to avoid unnecessary delays, the government requests that the defendant have copies of those
statements available for production to the government no later than the commencement of
trial.
                                               2
               The government also requests that the defendant disclose a written summary
of testimony that the defendant intends to use as evidence at trial under Rules 702, 703, and
705 of the Federal Rules of Evidence. The summary should describe the opinions of the
witnesses, the bases and reasons for the opinions, and the qualification of the witnesses.

               Pursuant to Fed. R. Crim. P. 12.3, the government hereby demands written
notice of the defendant’s intention, if any, to claim a defense of actual or believed exercise of
public authority, and also demands the names and addresses of the witnesses upon whom the
defendant intends to rely in establishing the defense identified in any such notice.

III.   Emails Sent and Received by Defendants Incarcerated at a Bureau of Prisons Facility

                The government may request that the Bureau of Prisons (“BOP”) produce to
the government emails sent and received by the defendant during his/her period of
incarceration at a BOP facility (collectively, “BOP email communications”). While it is the
government’s position that BOP email communications, including those between the
defendant and his or her attorneys and other legal assistants and paralegals on their staff, are
not privileged communications, in most instances, the government will request that the BOP
exclude from any production communications between the defendant and his or her attorneys
and other legal assistants and paralegals on their staff, if you provide the full email addresses
for such attorneys, legal assistants and paralegals by March 2, 2020. To enable this process,
the government requests that you send an email to the undersigned Assistant U.S. Attorneys
with the list of email addresses in the body of the email. If you subsequently wish to provide
an email address for an additional attorney, legal assistant or paralegal or change any of the
previously-provided email addresses, you should send an email with the complete list of
email addresses, including email addresses that remain unchanged, in the body of the email.




                                                3
IV.    Future Discussions

               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

               Please be advised that, pursuant to the policy of the Office concerning plea
offers and negotiations, no plea offer is effective unless and until made in writing and signed
by authorized representatives of the Office. In particular, any discussion regarding the
pretrial disposition of a matter that is not reduced to writing and signed by authorized
representatives of the Office cannot and does not constitute a “formal offer” or a “plea offer,”
as those terms are used in Lafler v. Cooper, 132 S. Ct. 1376 (2012), and Missouri v. Frye,
132 S. Ct. 1399 (2012).

                                                   Very truly yours,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                            By:     /s/ Michael Robotti
                                                   Michael Robotti
                                                   Ryan Harris
                                                   Erin Reid
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

Enclosures

cc:    Clerk of the Court (BMC) (by ECF) (without enclosures)




                                               4
